Case 2:11-cr-00181-WFN   ECF No. 742   filed 02/28/13   PageID.2783 Page 1 of 6
Case 2:11-cr-00181-WFN   ECF No. 742   filed 02/28/13   PageID.2784 Page 2 of 6
Case 2:11-cr-00181-WFN   ECF No. 742   filed 02/28/13   PageID.2785 Page 3 of 6
Case 2:11-cr-00181-WFN   ECF No. 742   filed 02/28/13   PageID.2786 Page 4 of 6
Case 2:11-cr-00181-WFN   ECF No. 742   filed 02/28/13   PageID.2787 Page 5 of 6
Case 2:11-cr-00181-WFN   ECF No. 742   filed 02/28/13   PageID.2788 Page 6 of 6
